                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


IN RE: REALPAGE, INC., RENTAL                    )    Case No. 3:23-md-03071
SOFTWARE ANTITRUST                               )    MDL No. 3071
LITIGATION (NO. II)                              )
                                                 )    THIS DOCUMENT RELATES TO:
                                                 )    Case No. 3:23-cv-00742
                                                 )
                                                 )

                                            ORDER

       For the reasons set forth in the accompanying Memorandum Opinion, the Motion to

Dismiss Tennessee Actions for Lack of Personal Jurisdiction and Improper Venue (Doc. No. 583)

is neither granted nor denied. The Clerk shall TERM the motions that appears at Doc. No. 583

in Case No. 3:23-md-03071, and Doc. No. 47 in Case No. 3:23-cv-00742.                  The Court

further ORDERS as follows:

       •   The claims raised in Kabisch v. RealPage, Inc., No. 3:23-cv-00742 (M.D. Tenn. July
           24, 2023), Doc. No. 1 (hereinafter, “Kabisch Complaint”) are hereby SEVERED into
           four groupings as separate cases, as follows:

              1. Claims against Prometheus Real Estate Group, Inc. (“Prometheus”) and Sares
                 Regis Group Commercial, Inc. (“Sares Regis”).

              2. Claims against Rose Associates, Inc. (“Rose”).

              3. Claims against Conti Texas Organization Inc., d/b/a CONTI Capital
                 (“CONTI”).

              4. Claims against the remaining Defendants.

       •   The claims raised in the Kabisch Complaint against the remaining Defendants (i.e.
           every Defendant other than Prometheus, Sares Regis, Rose, and CONTI) will remain
           in the Middle District of Tennessee and retain the above-captioned case number (3:23-
           cv-00742).

       •   The Clerk is directed to open a separate case for each of the three new cases, waive the
           filing fee in each new case, and then transfer the cases as follows:




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             1. Claims raised in the Kabisch Complaint against Prometheus and Sares Regis,
                to be transferred to the Western District of Washington.

             2. Claims raised in the Kabisch Complaint against Rose, to be transferred to the
                Southern District of New York.

             3. Claims raised in the Kabisch Complaint against CONTI, to be transferred to the
                Western District of Texas.

      •   Upon transfer, the Clerk SHALL notify the three transferee districts listed above that
          the respective transferred cases are related tag-along actions to In re: RealPage, Inc.,
          Rental Software Antitrust Litig. (No. II), No. MDL 3071, and that this Court
          respectfully requests that the transferred actions be sent to the United States Judicial
          Panel on Multidistrict Litigation for conditional transfer back to this Court.

      •   The Clerk SHALL send a copy of this Order and Memorandum Opinion to the Clerk
          of the Judicial Panel on Multi-District Litigation.


      IT IS SO ORDERED.



                                                    ____________________________________
                                                    WAVERLY D. CRENSHAW, JR.
                                                    CHIEF UNITED STATES DISTRICT JUDGE




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